                  Case 23-11240-TMH             Doc 130         Filed 09/15/23       Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re                                                     Chapter 11

    AMERIFIRST FINANCIAL, INC., et al.,1                      Case No. 23-11240 (TMH)

    Debtors.                                                  (Jointly Administered)

                                                              Re: D.I. 21 & 61



                                           NOTICE OF SERVICE

            PLEASE TAKE NOTICE, that on September 15, 2023, Eric Bowlby, by and through its

undersigned counsel, caused the: (i) Interested Party Eric Bowlby’s Document Production

Requests Directed to Amerifirst National, Inc.; (ii) Interested Party Eric Bowlby’s Document

Production Requests Directed to Jeffrey Dane, (iii) Interested Party Eric Bowlby’s Document

Production Requests Directed to Phoenix 1040, LLC, and (iv) Interested Party Eric Bowlby’s

Document Production Requests Directed to T. Scott Avila to be served in the manner indicated

upon the following counsel of record:

            Laura Davis Jones
            David M. Bertenthal
            Timothy P. Cairns
            Mary F. Caloway
            Maxim Litvak
            Pachulski Stang Ziel & Jones LLP
            919 North Market Street, 17th Floor
            Wilmington, DE 19899-8705
            ljones@pszjlaw.com
            dbertenthal@pszjlaw.com
            tcairns@pszjlaw.com
            mcaloway@pszjlaw.com
            mlitvak@pszjlaw.com
            By Email

1
 The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are: Phoenix 1040
LLC (2550); and AmeriFirst Financial, Inc. (4557). The location of Debtor AmeriFirst Financial, Inc.’s principal place
of business and the Debtors’ service address in these chapter 11 cases is 1550 McKelleps Road, Suite 117, Mesa,
Arizona 85203.

                                                          1
          Case 23-11240-TMH   Doc 130   Filed 09/15/23    Page 2 of 2




Dated: September 15, 2023          PASHMAN STEIN WALDER HAYDEN, P.C
       Wilmington, Delaware
                                    /s/ Joseph C. Barsalona II
                                   William R. Firth, III (No. 4356)
                                   Joseph C. Barsalona II (No. 6102)
                                   1007 North Orange Street, 4th Floor, #183,
                                   Wilmington, DE 19801
                                   Telephone: (302) 592-6497
                                   Facsimile: (201) 488-5556
                                   Email: wfirth@pashmanstein.com
                                            jbarsalona@pashmanstein.com

                                  Counsel to Eric Bowlby, on behalf of himself and
                                  other displaced shareholders of AmeriFirst Financial, Inc.




                                    2
